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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8
                                    AT SEATTLE
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10         AUBRY MCMAHON,                              CASE NO. C21-0920JLR

11                             Plaintiff,              MINUTE ORDER
                  v.
12
           WORLD VISION, INC.,
13
                               Defendant.
14

15         The following minute order is made by the direction of the court, the Honorable

16   James L. Robart:

17         Before the court is Plaintiff Aubry McMahon’s motion for reconsideration of the

18   court’s June 12, 2023 order granting Defendant World Vision, Inc.’s (“World Vision”)

19   motion for summary judgment. (MFR (Dkt. # 40); 6/12/23 Order (Dkt. # 38).) Pursuant

20   to Local Civil Rule 7(h)(3), the court DIRECTS World Vision to respond to Ms.

21   McMahon’s motion for reconsideration by no later than Friday, July 7, 2023. See Local

22   Rules W.D. Wash. LCR 7(h)(3). World Vision’s response shall be no longer than 2,100


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 1   words. Ms. McMahon may file an optional reply of no more than 1,100 words by no

 2   later than Friday July 14, 2023. The Clerk is DIRECTED to re-note Ms. McMahon’s

 3   motion for reconsideration for July 14, 2023.

 4         Filed and entered this 27th day of June, 2023.

 5
                                                RAVI SUBRAMANIAN
 6                                              Clerk of Court

 7                                              s/ Ashleigh Drecktrah
                                                Deputy Clerk
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